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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

 IN RE CHEVROLET BOLT EV                Case No. 2:20-cv-13256-TGB-CI
 BATTERY LITIGATION                     Hon. Terrence G. Berg, District Judge
                                        Hon. Curtis Ivy, Magistrate Judge




               DEFENDANT GENERAL MOTORS LLC’S
            OPPOSITION TO HEYGOOD, ORR & PEARSON’S
             MOTION TO ALLOW ELECTRONIC OPT OUTS
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                STATEMENT OF THE ISSUES PRESENTED

1.    Should the Court alter the terms of the Class Settlement Agreement to permit

      putative class members to opt out using electronic signatures and email?




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       CONTROLLING OR MOST APPROPRIATE AUTHORITIES

1.    Evans v. Jeff D., 475 U.S. 717 (1986)

2.    Brock v. Scheuner Corp., 841 F.2d 151 (6th Cir. 1988)

3.    Levell v. Monsanto Rsch. Corp., 191 F.R.D. 543 (S.D. Ohio 2000)

4.    In re TikTok, Inc. Consumer Privacy Litig., 565 F. Supp. 3d 1076 (N.D. Ill.
      2021)

5.    Federal Rule of Civil Procedure 23(e)(5)

6.    Local Rules 7.1 and 16.3 of the U.S. District Court for the Eastern District of
      Michigan




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I.    INTRODUCTION

      The law firm of Heygood, Orr & Pearson—purportedly acting on behalf of

unidentified, absent members of the putative class—seeks to alter the terms of the

parties’ carefully negotiated settlement agreement to permit electronic opt-outs from

the proposed settlement class. It’s telling that the Heygood firm does not identify the

potential class members it claims to be acting on behalf of, because the motion is

nothing more than a cynical attempt to enlist this Court in the firm’s plan to solicit

clients to opt out of the settlement—which Heygood deemed insufficient before the

settlement’s terms were even public. The requested relief may serve the Heygood

firm’s interests, but it does not serve the interests of class members. In any event,

the motion is meritless and should be rejected for several reasons.

      To begin with, the Heygood firm is wrong to suggest that this Court can alter

the settlement in the way it requests. As the Court is aware, the parties spent many

months and engaged in multiple mediation sessions to negotiate the terms of the

proposed Settlement Agreement. One critical aspect of that agreement was the

requirement that individuals who wish to opt out (presumably so that they can pursue

their own claims) certify that they really wish to do so by completing, signing, and

mailing hard-copy opt-out forms. The point of this provision is to reduce the risk of

abusive, lawyer-driven “mass” opt-outs by requiring putative class members to

undertake these modest steps following the order granting preliminary approval;



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individuals who are unwilling to sign and mail a brief opt-out document would lack

the wherewithal to be plaintiffs in individual litigations or arbitrations, and thus

would be worse off if they were encouraged to opt out of the class solely through

online lawyer advertising. Moreover, the Settlement Agreement provides that it is

no longer binding if the Court changes it, and any such order could open the door to

one or more of the parties voiding the Settlement Agreement.

       In addition, the Heygood firm’s motion suffers from procedural irregularities

that justify its rejection. For starters, the motion is a de facto opposition to Plaintiffs’

Motion for Preliminary Approval that was filed more than two months after the

deadline. Moreover, because the motion does not disclose the identities of the

purported movants (that is, the absent members of the putative class), the real parties

in interest appear to be the Heygood firm, which lacks standing to oppose the terms

of the Settlement Agreement because it is not a potential class member. Counsel also

failed to meet and confer in accordance with this Court’s rules before filing their

motion.

       In short, the Court should reject the Heygood firm’s motion out of hand.

II.    BACKGROUND

       A.     This Consolidated Putative Class Action

       Beginning in late 2020, various plaintiffs filed a series of eight putative class

actions that ultimately were consolidated into this action. In their consolidated



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complaint, Plaintiffs alleged that GM failed to disclose and adequately repair the

alleged Bolt battery defect and asserted a number of claims based upon those

allegations. See generally ECF No. 27. Plaintiffs also brought claims against a

number of LG entities as defendants. See id.

      In December 2021, GM and the LG defendants filed motions to dismiss and

motions to compel certain plaintiffs’ claims to arbitration. ECF Nos. 35-37, 44, 46-

49. This Court partially granted the motions to dismiss and granted the motions to

compel arbitration, but allowed certain other claims to proceed. See generally In re

Chevrolet Bolt EV Battery Litig., 633 F. Supp. 3d 921 (E.D. Mich. 2022).

      B.     The Settlement

      Following months of negotiations and extensive mediation efforts led by the

Hon. Jay Gandhi (Ret.) over several sessions, the parties reached a class-wide

settlement. See generally ECF Nos. 157, 157-2. The parties’ Settlement Agreement

generally provides that Bolt owners whose vehicles were or are subject to the Battery

Replacement Remedy will receive $700 each, and Bolt owners whose vehicles were

or are subject to the Software Remedy will receive $1,400 each. ECF No. 157-2 at

39-40, PageID.9788-9789. The Settlement Agreement contemplates that, if the

Court grants preliminary approval and certifies a class for settlement purposes,

putative class members may opt out of the class, but they must do so by hand-signing

an opt-out request and mailing that request to the Settlement Administrator. Id. at



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54-55, PageID.9807-9808. The Settlement Agreement contemplates that if too many

putative class members opt out of the class, the Agreement is voidable. Id. at 64,

PageID.9817. Likewise, the Settlement Agreement states that if the Court does not

approve its terms as written, a party may void the Settlement Agreement. Id. at 62-

63, PageID.9815-9816.

      Plaintiffs filed a motion for preliminary approval of the settlement on May 16,

2024. ECF No. 157. The Court held a hearing on that motion on July 15, 2024. See

ECF Nos. 163, 166. At that hearing, the Court expressed its approval of the

settlement, concluding: “[I]t seems to me this agreement is a fair and reasonable and

appropriate agreement and it’s appropriate for the Court to approve of it at this time.”

ECF No. 166 (Transcript) at 30:3-6. A written order on that motion is currently

pending.

      C.     Opt-Outs

      Beginning in late 2023—shortly after the parties here announced that they had

reached a settlement (see ECF No. 150 at 1, PageID.9591), but before they had

announced that settlement’s terms—the law firm of Heygood, Orr & Pearson began

filing lawsuits on behalf of individual plaintiffs against GM that are premised upon

the same facts as this action. Indeed, the Heygood firm initially filed several of its

actions in various federal courts,1 including this court, and it appeared at this Court’s


1
      See, e.g., Beech et al. v. Gen. Motors, LLC, No. 1:23-cv-16057 (N.D. Ill.);

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 December 2023 hearing on the status of the settlement at issue in this Motion.

 However, after that hearing, and after GM began to seek transfer of those cases to

 this Court, the Heygood firm dismissed its federal actions without prejudice and re-

 filed some of those claims in state court (along with other claims on behalf of new

 clients).2

        D.    This Motion

        The Heygood firm has brought this motion on behalf of unidentified

 “Movants,” whom the firm claims are “individual class members” represented by

 their firm who purportedly have “been informed of the terms of the proposed class

 settlement” and “intend to opt out of the class and pursue their individual claims

 against [GM].” ECF No. 167, 1, PageID.10160. The motion recognizes that, under

 the Settlement Agreement, putative class members who wish to opt out must

 complete, hand-sign, and mail a hard-copy opt-out form to the Settlement

 Administrator, but asks this Court to alter that provision to permit electronic opt-



 Berger et al v. Gen. Motors LLC, No. 2:23-cv-01937-SKV (W.D. Wash.); Arbini et
 al. v. Gen. Motors, LLC, No. 2:23-cv-12832-TGB-CI (E.D. Mich.); Markey et al. v.
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 23-cv-02524-PHX-DLR (D. Ariz.).
 2
        See, e.g., Beech et al v. Gen. Motors LLC, No. 2023L012851 (Ill. Cir. Ct.
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 outs. Id. at 3, PageID.10162.

 III.   ARGUMENT

        A.    Courts May Not Alter the Terms of a Settlement Agreement
              Without the Agreement of All Parties.

        It’s undisputed that, under the Settlement Agreement, “[a]ll requests for

 exclusion [from the settlement] shall be in writing and shall be personally signed by

 the member of the Settlement Class who is opting out.” ECF No. 157-2, 54-55,

 PageID.9807-9808; see also ECF No. 157-3, 16-17, PageID.9869-9870 (Proposed

 Order). The Heygood firm acknowledges that this procedure “require[s] each class

 member seeking to opt out to . . . physically sign their opt out notice with a ‘wet ink’

 signature and mail the notice to the Administrator.” ECF No. 167, 5, PageID.10164.

        That requirement, like many of the provisions of the Settlement Agreement,

 was heavily negotiated and is fundamental to the parties’ agreement. The

 requirement of a personal, physical signature is the best way of guaranteeing that

 each putative class member will carefully evaluate whether to opt out of the

 settlement class before actually doing so and trading a certain right to recover for the

 uncertainty of individual litigation or arbitration. E.g., In re TikTok, Inc., Consumer

 Privacy Litig., 565 F. Supp. 3d 1076, 1093 (N.D. Ill. 2021) (noting “courts have

 routinely enforced the requirement that class members individually sign and return

 a paper opt-out form as ‘vital’ to ensuring ‘that the class member is individually

 consenting to opt out,’” and collecting cases). That requirement also avoids de facto


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 “mass” opt-outs, which the Settlement Agreement explicitly prohibits. Id. (electronic

 submissions “make[] it easier for third parties and their counsel to file unauthorized

 mass opt-outs” (citation omitted)); ECF No. 157-2, 55, PageID.9808 (“‘mass’ or

 ‘class’ opt outs shall not be allowed”). Such mass opt-outs are forbidden for good

 reason: those opt-outs are often recruited through lawyer-driven, online advertising

 that can fail to provide potential clients with a full and fair opportunity to determine

 whether choosing litigation over settlement makes sense for them. Moreover, to be

 sure, if the number of opt outs is large enough, it diminishes the key benefits to the

 parties and the judicial system of a class-wide settlement: global resolution and

 global peace.

       For these reasons, the parties negotiated and included the “blow-up” provision

 that grants the Defendants the “right, at their option, to terminate the Settlement

 Agreement” if an excessive number of opt-outs occur. See ECF No. 157-2, 65,

 PageID.9817.

       In the face of these negotiated provisions, the Heygood firm has taken the

 aggressive step of pressing this Court to “revise[]” the Settlement Agreement “to

 allow for electronic opt outs,” and to “permit[]” those wishing to opt out “to submit

 their signed opt out notice to the Settlement Administrator by email rather than by

 mail.” ECF No. 167, 3, PageID.10162.

       But the Heygood firm fails to recognize that a district court “must enforce the



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 settlement as agreed to by the parties and is not permitted to alter the terms of the

 agreement.” Brock v. Scheuner Corp., 841 F.2d 151, 154 (6th Cir. 1988); see also

 Brown v. County of Genesee, 872 F.2d 169, 173 (6th Cir. 1989) (quoting Brock).

 That principle is true in the context of class actions as well: although the parties

 “need judicial approval to bind absent class members, the [settlement] agreement

 itself is nonetheless a private contract among the settling parties,” and the Court

 “cannot rewrite the agreement.” 4 Newberg & Rubenstein on Class Actions, § 13:46

 (6th ed. 2024). The Supreme Court has held that “Rule 23(e) wisely requires court

 approval of the terms of any settlement of a class action, but the power to approve

 or reject a settlement negotiated by the parties before trial does not authorize the

 court to require the parties to accept a settlement to which they have not agreed.”

 Evans v. Jeff D., 475 U.S. 717, 726 (1986); see also, e.g., In re Equifax Inc. Customer

 Data Security Breach Litig., 999 F.3d 1247, 1274 (11th Cir. 2021), cert. denied, 142

 S. Ct. 431 (2021) and 142 S. Ct. 765 (2022) (“The judge cannot rewrite the

 agreement.”) (quoting Manual for Complex Litigation, Fourth, § 21.61).

       Thus, this Court “lacks the authority to modify the terms of” the Settlement

 Agreement because it is “[o]nly the parties, during arms’ length negotiations,” who

 “have the power to change the terms of their Agreement.” Levell v. Monsanto Rsch.

 Corp., 191 F.R.D. 543, 549 (S.D. Ohio 2000) (applying Brown in the context of class

 settlement); see also, e.g., Bronson v. Bd. of Educ. of City Sch. Dist. of City of



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 Cincinnati, 604 F. Supp. 68, 73 (S.D. Ohio 1984) (“This Court does not have the

 power to order specific changes or modifications to be made in the agreement. Only

 the parties, during arms-length negotiations, such as those that proceeded the

 drafting and the approval of this agreement, have the power to agree upon

 changes.”). The Heygood firm does not cite any authority to the contrary.

       Consistent with these principles, the Settlement Agreement explicitly

 contemplates that “[a]ny Party shall . . . have the option to withdraw from th[e]

 Settlement Agreement, and to render it null and void,” if the Court attempts to

 modify either the Settlement Agreement or the proposed preliminary approval order

 in any manner that Party deems to be material. ECF No. 157-2, 63-64, PageID.9816-

 9817. If the Court were to accept the Heygood firm’s invitation to rewrite the

 settlement agreement, that would open the door to one of the parties exercising their

 right to withdraw from and void that agreement.

       Even if the Court could alter the settlement in the way the Heygood firm

 suggests, it would make little sense to do so. The motion attempts to justify the

 requested change by pointing to the alleged “costs and inconvenience” of each class

 member having “to prepare their notice, physically sign it, address an envelope,

 purchase a stamp and mail the notice.” ECF No. 167, 5, PageID.10164. But this is

 how most opt-outs in class actions work; moreover, the proposed opt-out period

 would run 150 days (nearly five months) from the date of preliminary approval (ECF



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 No. 157-2, 54, PageID.9807; ECF No. 157-3, 16, PageID.9869), which is more than

 enough time to accomplish these minor tasks. Indeed, presumably the reason

 potential class members would want to opt out of the settlement—certainly any class

 member who truly wants to be represented by the Heygood firm—is so that they can

 pursue their own litigation or arbitration. Doing so will undoubtedly entail much

 more time, burden, and expense than signing and mailing in an opt-out request; after

 all, any litigant whose claim is not outright dismissed must be prepared to sit for a

 deposition and participate in discovery. Tellingly, none of the Heygood firm’s

 clients have offered up any evidence suggesting that the wet-ink and mailing

 requirements would actually impose any significant burden on them.

       In short, the Court should reject the request to alter the Settlement

 Agreement’s terms.

       B.        The Movants’ Request Is Procedurally Improper

       While the Heygood firm’s motion is fatally flawed on the merits, the Court

 also can reject that motion for an independent reason: it is riddled with procedural

 deficiencies.

                 1.   The Movants’ Request Is Untimely.

       First, the motion is a de facto opposition to the Plaintiffs’ motion for

 preliminary approval of the Settlement Agreement. See generally ECF No. 157.

 Plaintiffs filed that motion on May 16, 2024 (id.), so responses to that motion were



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 due by no later than June 6, 2024. See L.R. 7.1(e) (responses to motion to certify a

 class due “within 21 days following service of the motion,” and other responses due

 “within 14 days after service of the motion”). Consistent with that schedule, the

 Court held a hearing on the motion on July 15, 2024. See ECF Nos. 163, 166. The

 Heygood firm was certainly made aware of that hearing; indeed, counsel from that

 firm previously participated in a hearing in this case regarding the settlement status

 in December 2023.3 Yet they offer no reason—and there is no legitimate excuse—

 why they waited until mid-August to file this motion. Because the motion is

 untimely, it can be rejected on that basis alone.

              2.     The Heygood Firm Lacks Standing to Pursue the Requested
                     Relief.

       Second, the Heygood firm’s motion purports to be on behalf of certain absent

 members of the putative class, but the motion never bothers to identify the movants.

 That failure matters: Federal Rule of Civil Procedure 23(e)(5) only permits putative

 class members to object to a proposed class settlement. Because the identity of the

 movants is unknown, the parties and this Court have no way of ensuring that those

 purported movants are actually members of the proposed class. And the Heygood



 3
       See ECF No. 152 (setting telephonic status conference in which the Heygood
 firm participated); Notice of Telephonic Conference at 1, PageID.128, Arbini et al.
 v. Gen. Motors, LLC, No. 2:23-cv-12832-TGB-CI (E.D. Mich. Dec. 6, 2023), ECF
 No. 6 (ordering joint status conference in Arbini case, which was brought by
 Heygood firm, and this action).

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 firm’s silence about their clients here speaks volumes: it underscores the likelihood

 that this request is a counsel-driven effort to recruit a larger number of opt outs

 through online marketing and advertising. In any event, because the Heygood firm

 is not a member of the Class, it lacks standing to object to the Agreement. For that

 independent reason, the Court should deny the request.

              3.     Movants Failed to Properly Meet and Confer.

       Third, Local Rule 7.1(a) “requires that a moving party conduct a meaningful

 and timely conference with other parties to explain the nature of the relief sought

 and the grounds for the motion, to seek concurrence, and to narrow the issues.” That

 did not take place. Instead, the Heygood firm simply sent a draft of the motion to

 counsel for Plaintiffs, GM, and some (but apparently not all) of the LG Defendants

 and asked the recipients if they would oppose the motion.4 That is precisely what

 this Court’s local rules prohibit. See U.S. District Court for the Eastern District of

 Michigan, Local Rules, at 28, available at https://www.mied.uscourts.gov/PDFFIles

 /localRulesPackage.pdf (last accessed Aug. 30, 2024) (“sending an email without

 engaging the other parties will not satisfy [Rule 7.1(a)]”).

              4.     The Motion Improperly Discloses Mediation Communications
                     in Connection with a Misleading Argument.

       Fourth, the Motion asserts that “in this very litigation, GM accepted fact sheets


 4
      The Movants’ counsel apparently did not send the draft Motion to counsel for
 Defendants LG Electronics, Inc. and LG Electronics USA, Inc.

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 from Movants that were signed electronically,” then attaches excerpts of a “Plaintiff

 Fact Sheet” that the Heygood firm and GM had mutually prepared and exchanged

 in connection with a mediation of their state court opt-out cases. See ECF No. 167,

 10, PageID.10169; ECF No. 167-4, 2-3, PageID.10179-10180.

       The Heygood firm’s reference in the motion to “this litigation” appears to be

 an effort (poorly done) to conceal that it was disclosing mediation-related

 communications after GM’s counsel objected to that disclosure. But in making that

 reference, the motion misleads the Court. In fact, GM did not “accept[] fact sheets”

 in this litigation; rather, it acquiesced to their use solely to inform a separate

 mediation. That is a night-and-day difference from the Heygood firm’s proposal

 here, which would permit class members’ use of electronic signatures on legally-

 binding documents to opt out of a class settlement.

       Injecting mediation communications into this case was not only misleading,

 but also improper conduct in connection with a mediation. For starters, the mediation

 was governed by California Evidence Code § 1119, which prohibits admission of

 statements made in a mediation context and states that “[a]ll communications,

 negotiations, or settlement discussions by and between participants in the course of

 a mediation or a mediation consultation shall remain confidential.” Similarly, the

 local rules of this court state that “[c]ommunications in ADR proceedings are

 confidential,” “are not admissible in a proceeding, and may not be disclosed to



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 anyone other than the ADR participants unless the court permits disclosure.” L.R.

 16.3(d). The Heygood firm should have known better. Either way, the Court should

 reject counsel’s attempt to suggest that GM has somehow already conceded that the

 use of electronic signatures to opt out of a class settlement here is appropriate.

 IV.   CONCLUSION

       The Court should deny the motion.

 Dated: August 30, 2024                     Respectfully submitted,

                                            /s/ John Nadolenco
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                                            Attorneys for Defendant
                                            General Motors LLC




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                          CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF System, which will send

 notification to the ECF counsel of record.

                                               Respectfully submitted,

                                               /s/ John Nadolenco

 Dated: August 30, 2024
